             Case 18-70589-AKM-7A                          Doc 24         Filed 07/22/19                   EOD 07/22/19 10:23:32                         Pg 1 of 3
                                                                       FORM 1
                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                          Page:      1
                                                                     ASSET CASES
Case No:              18-70589-AKM-7          Judge: Andrea K. McCord                                      Trustee Name: R. Stephen LaPlante, Trustee
Case Name:            KAYS, KATHY ANN                                                                      Date Filed (f) or Converted (c):      05/31/18 (f)
                                                                                                           341(a) Meeting Date:                  07/11/18
 For Period Ending: 06/30/19
                                                                                                           Claims Bar Date:                      10/15/18


                                   1                                        2                         3                  4               5                            6
                                                                                             Estimated Net Value
                                                                                              (Value Determined       Property                                   Asset Fully
                                                                         Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                           Asset Description                            Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
                (Scheduled and Unscheduled (u) Property)                  Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 1. 2005 Volkswagen Beetle (Value based on 2018 NADA V                          3,275.00                      0.00      OA                        0.00               FA

 2. 3 beds, 2 dressers, 1 night stand, 1 lamp, 1 coffe                           900.00                       0.00      OA                        0.00               FA

 3. 1 game console, 5 video games, 4 TVs, 1 computer                             300.00                       0.00      OA                        0.00               FA

 4. 2 handguns                                                                   200.00                       0.00      OA                        0.00               FA

 5. Used clothing                                                                100.00                       0.00      OA                        0.00               FA

 6. Misc. costume jewelry                                                         50.00                       0.00      OA                        0.00               FA

 7. 2 cats                                                                        30.00                       0.00      OA                        0.00               FA

 8. Cash                                                                              8.00                    0.00      OA                        0.00               FA

 9. EPPI Card                                                                     19.38                       0.00      OA                        0.00               FA

 10. Fifth Third Bank                                                            206.49                    937.21                              937.21                FA

 11. Fifth Third Bank                                                                 3.14                    0.00      OA                        0.00               FA

 12. Tax refundState & Federal                                                   162.99                   1,434.01                            6,791.31               FA

 13. Term Life Insurance through employer, Beneficiary:                               0.00                    0.00      OA                        0.00               FA

                                                                                                                                                         Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                           $5,255.00                 $2,371.22                         $7,728.52                            $0.00
                                                                                                                                                           (Total Dollar Amount
                                                                                                                                                                  in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 May 07, 2019, 08:34 am Received notice of offset. Recalculated amount due debtor, cut checks and
 letter to counsel
 May 06, 2019, 08:20 am Received federal refund; discrepancy between return amount and amount of
 check. Emailed counsel regarding discrepancy.
 March 05, 2019, 09:15 am Received 2018 tax return from counsel
 January 21, 2019, 02:22 pm Reviewed claims; no objections. Case ready to close when tax refund paid
 in full.
 January 15, 2019, 10:51 am Letter to counsel with copy to debtor regarding 2018 tax refunds,
 assignment of 2018 refunds to bankruptcy estate, and procedure to complete payment
 September 25, 2018, 07:54 am Order Granting Motion to Compromise and Settle entered 9/24/18 and
 served this date



PFORM1                                                                                                                                                                     Ver: 22.02
             Case 18-70589-AKM-7A                  Doc 24        Filed 07/22/19          EOD 07/22/19 10:23:32                      Pg 2 of 3
                                                              FORM 1
                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page:   2
                                                            ASSET CASES
Case No:          18-70589-AKM-7      Judge: Andrea K. McCord                            Trustee Name: R. Stephen LaPlante, Trustee
Case Name:        KAYS, KATHY ANN                                                        Date Filed (f) or Converted (c):   05/31/18 (f)
                                                                                         341(a) Meeting Date:               07/11/18
                                                                                         Claims Bar Date:                   10/15/18
 August 31, 2018, 09:21 am Filed Motion to Compromise and Settle regarding funds in bank account
 August 29, 2018, 07:56 am Notice of Change of Address for debtor filed 8/28/18
 August 29, 2018, 07:57 am Emailed counsel regarding signed stipulation; will extend 9/7/18 LDO if
 not received by then
 August 16, 2018, 07:57 am Turnover order entered 8/15/18 and served this date
 August 06, 2018, 02:53 pm Counsel requested a payment plan be set up regarding the turnover of funds
 in bank account. Prepare stipulation and motion and forwarded to counsel. Follow up date of
 8/20/18.
 July 24, 2018, 09:27 am Turnover motion filed regarding funds in bank account.
 July 23, 2018, 03:06 pm Received petition-date bank statement; balance appears to be approximately
 $1,144. File turnover motion for funds in bank account.
 July 16, 2018, 10:00 am Asset report filed; tickler date of 12/7/18 to mail tax intercept
 July 13, 2018, 03:05 pm Emailed counsel's office and requested actual bank statement covering the
 petition date

 Initial Projected Date of Final Report (TFR): 12/31/19         Current Projected Date of Final Report (TFR): 12/31/19

       /s/    R. Stephen LaPlante, Trustee
 __________________________________________ Date: __________________
       R. STEPHEN LAPLANTE, TRUSTEE




PFORM1                                                                                                                                           Ver: 22.02
               Case 18-70589-AKM-7A                                 Doc 24      Filed 07/22/19                   EOD 07/22/19 10:23:32                           Pg 3 of 3
                                                                            FORM 2
                                                                                                                                                                                 Page:       1
                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No:                   18-70589-AKM-7                                                                  Trustee Name:                R. Stephen LaPlante, Trustee
 Case Name:                 KAYS, KATHY ANN                                                                 Bank Name:                   Associated Bank
                                                                                                            Account Number / CD #:        *******4711 Checking Account (Non-Interest Earn
 Taxpayer ID No:            *******2621
 For Period Ending:         06/30/19                                                                        Blanket Bond (per case limit): $ 42,291,316.00
                                                                                                            Separate Bond (if applicable):


      1                2                            3                                          4                                             5                    6                      7

 Transaction    Check or                                                                                                   Uniform                           Disbursements        Account / CD
    Date        Reference                 Paid To / Received From                 Description Of Transaction             Trans. Code    Deposits ($)              ($)              Balance ($)

                                                                        BALANCE FORWARD                                                                                                          0.00


    08/31/18          10         KATHY ANN KAYS                         FUNDS IN BANK ACCOUNT                               1129-000              100.00                                     100.00
                                 3303 W. BOONVILLE-NEW HARMONY
                                 RD.
                                 EVANSVILLE, IN 47720


    10/04/18          10         KATHY ANN KAYS                         FUNDS IN BANK ACCOUNT                               1129-000              100.00                                     200.00
                                 3303 W BOONVILLE
                                 NEW HARMONY RD
                                 EVANSVILLE, IN 47720


    11/06/18          10         KATHY ANN KAYS                         TAX REFUND                                          1124-000              100.00                                     300.00
                                 3303 W BOONVILLE
                                 NEW HARMONY RD
                                 EVANSVILLE, IN 47720


    12/10/18          10         KATHY ANN KAYS                         TAX REFUND                                          1124-000              100.00                                     400.00
                                 2905 WESTBROOK CT.
                                 EVANSVILLE, IN 47720


    01/08/19          10         KATHY ANN KAYS                         TAX REFUND                                          1124-000              100.00                                     500.00
                                 2905 WESTBROOK CT.
                                 EVANSVILLE, IN 47720


    02/12/19          10         KATHY ANN KAYS                         TAX REFUND                                          1124-000              100.00                                     600.00
                                 2905 WESTBROOK CT.
                                 EVANSVILLE, IN 47720


    05/06/19       10, 12        UNITED STATES TREASURY                 TAX REFUND                                          1124-000             6,791.31                                 7,391.31


    05/07/19       010001        KATHY ANN KAYS                         FUNDS RETURNED TO DEBTOR                            8500-002                                  4,857.10            2,534.21
                                 2905 WESTBROOK CT.                     Debtor's federal and state EIC and prorated
                                 EVANSVILLE, IN 47720                   portion of refunds, less deduction for
                                                                        non-exempt funds in bank account


    05/07/19       010002        KATHY ANN KAYS                         EXEMPTION                                           8100-002                                   162.99             2,371.22
                                 2905 WESTBROOK CT.                     Debtor's exemption in tax refunds
                                 EVANSVILLE, IN 47720




                                                                                                                                                       Total Of All Accounts             2,371.22




PFORM24                                                                                                                                                                                  Ver: 22.02
